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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                 Judge Christine M. Arguello

  Civil Action No. 14-cv-01933-CMA-GPG

  NATOSHA DAVIS,

         Plaintiff,

  v.

  KENNETH EGOLF, an Individual, and
  RC MOORE, INC., a corporation,

         Defendants.


                        ORDER OF DISMISSAL WITH PREJUDICE


         Pursuant to and in accordance with Fed. R. Civ. P. 41(a)(2) and the Stipulation of

  Dismissal With Prejudice (Doc. # 49), signed by the attorneys for the parties hereto, it is

         ORDERED that this case is DISMISSED WITH PREJUDICE, each party to pay

  its own attorney fees and costs.

         DATED: September 17, 2015

                                                   BY THE COURT:


                                                   _______________________________
                                                   CHRISTINE M. ARGUELLO
                                                   United States District Court Judge
